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                                 June 23, 2022



Honorable Richard D. Bennett
United States District Judge
101 West Lombard Street
Baltimore, Maryland 21201

             Re: United States v. Eghosare Avboraye-Igbinedion
                            Case No. RDB-21-054

Dear Judge Bennett:

     On June 13, 2022, the Court held a telephone conference
with all counsel concerning Mr. Igbinedion’s desire to retain
counsel in this case as well as undersigned counsel’s trial
schedule. At that time, the Court requested counsel advise the
Court by June 24 of the status of these matters.

     On June 14, 2022, counsel emailed Mr. Igbinedion and
advised him of the Court’s directive. He advised counsel that
he still expected to retain counsel but wanted me to continue
until he had retained his own counsel. I advised him that I had
a trial conflict that I would attempt to reconcile, but if it
could not be reconciled, I would immediately move to withdraw
from his case and another attorney would be appointed to
represent him unless he had retained an attorney. Finally, he
was advised that under no circumstances would the Court postpone
the case.

      Counsel has attempted to resolve the other case that
presents a conflict and it has not been resolved. Counsel,
therefore, requests the Court permit him to withdraw from the
case.

                              Respectfully Submitted,

                                /s/   Gerald C. Ruter
                                                    Counsel's Motion to Withdraw is
                              Gerald C. Ruter       GRANTED. New counsel will be
                                                    appointed.
Filed by CM/ECF
Cc: Mr. Igbinedion by email
                                                    SO ORDERED this 24th day of June, 2022

                                                                   /s/
                                                    Richard D. Bennett
                                                    United States District Judge
